      Case 3:14-cr-00126-MHT-TFM Document 29 Filed 01/20/15 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )       Case No. 3:14-CR-00126-MHT
                                             )
YASHICA ROBINSON WHITE,                      )
M.D.,                                        )
                                             )
      Defendant.                             )
______________________________               )

                Defendant Yashica Robinson White M.D.’s Motion to Dismiss

       Defendant Yashica Robinson White, M.D. (“Dr. Robinson”) moves to dismiss under Fed.

R. Crim. P. 12(b)(3) on two independent grounds. First, because the government has committed

equal-protection violations by selectively prosecuting Dr. Robinson, the Court should dismiss the

entire indictment under Fed. R. Crim. P. 12(b)(3)(A)(iv). If the Court chooses not to dismiss the

indictment on the current record, it should direct the government to answer the discovery re-

quests attached at Exhibit 12 to the accompanying memorandum of law and, if necessary, hold

an evidentiary hearing. Second, because the government has improperly interpreted of 21 U.S.C.

§ 331(a), which does not criminalize the innocent receipt of misbranded medical devices by a

physician who merely ordered them from a supplier, the Court should independently dismiss

Count 6 for failure to state an offense under Fed. R. Crim. P. 12(b)(3)(B)(v).
      Case 3:14-cr-00126-MHT-TFM Document 29 Filed 01/20/15 Page 2 of 2




       For these and all the reasons discussed in the accompanying memorandum of law, Dr.

Robinson respectfully requests that the Court grant this motion and dismiss the indictment.

                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on January 20, 2015, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system, which will send notification of such filing to the following:

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                                             /s/ Jonathan C. “Rudy” Hill
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